Case 2:22-cv-05367-RGK-MAA      Document 71-1         Filed 06/12/23      Page 1 of 2 Page ID
                                      #:3157


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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   JOSHUA ASSIFF,                               Case No. 2:22-cv-05367 RGK (MAAx)
  12                   Plaintiff,                   [PROPOSED] ORDER GRANTING
  13                                                PLAINTIFF’S MOTION IN LIMINE
             v.
                                                    #2
  14
       COUNTY OF LOS ANGELES;
  15   SHERIFF DEPUTY BADGE                         Action Filed: August 3, 2022
  16   NUMBER 404532;                               Pretrial Conference: July 10, 2023
       And DOES 1 through 10,                       Trial Date: July 25, 2023
  17
  18                   Defendants.                  Assigned to: Hon. R. Gary Klausner,
                                                    District Judge, Courtroom 850
  19
  20                                                All Discovery Matters Referred to: Hon.
                                                    Maria A. Audero, District Judge
  21
  22         Having considered the moving and opposition papers in connection with
  23   Plaintiff’s motion in limine #2, and for good cause shown,
  24
  25         IT IS HEREBY ORDERED that Defendants TRAVIS KELLY and COUNTY
  26   OF LOS ANGELES and their counsel are hereby prohibited from introducing at trial
  27   any evidence, references to evidence, witness testimony, contentions, or cross-
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                         [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION IN LIMINE #2
Case 2:22-cv-05367-RGK-MAA         Document 71-1         Filed 06/12/23      Page 2 of 2 Page ID
                                         #:3158


   1   examination relating to the expert opinions of Defendants’ expert Michael Gray,
   2   specifically:
   3          1)       Whether Defendant Kelly had “probable cause” to arrest Plaintiff;
   4          2)       Whether Defendant Kelly used “excessive force” to arrest Plaintiff;
   5          3)       Whether customs or policies promulgated, maintained, or enforced by
   6   the LASD caused Plaintiff’s harm; and
   7          4)       Whether an LASD custom or practice violated the civil rights of its
   8   citizens.
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  12   DATE: __________                                    _______________________________
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                                                           JUDGE

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                            [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION IN LIMINE #2
